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EXHIBIT B




NRIC Spreadsheet of claims and payout history of reserves




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Northern Rockies Insurance Company (NRIC) - As of 11/1/2013
Claims Paid/Legal Fees/Reserves/Expenses:



                                                                                                                     Reserves paid
                                                                                                         Amount of on claim filed
                               Attorney                                                                claim reserve by NRNS Jan   Case
Case                           Representation           Monies Spent to Date/Payee                     paid To date 2013.          Status        Notes:

                               Bonner Stinson/Kline
Biles v John H Schneider, MD   Law Firm                 Bonner Stinson/Kline Law Firm                                                            Biles v Schneider
                                                        Boner Stinson                                      206,860.00     206,860.00             Attorney's Fees Biles v Schneider and Med Mal



                               Steve Kline/ Kline Law
                               Firm and Steve
                               Emery/Williams Porter
                               Day & Neville/Meals Law                                                                                           Reserve includes BOM 1206. Thirteen patient complaints/Med
                               Firm                    Kline Law Firm                                      369,945.44     400,000.00             Mal issues

Monaco Med Mal/BOM                                      Williams Porter Day and Neville                    123,820.40     200,000.00 ongoing     Reserve includes Defense, Expert Fees and Appellette costs
Monaco Med Mal/BOM                                      Meals Law Firm                                      22,500.00                ongoing
Monaco Med Mal/BOM                                      Accumen Assmts                                       6,500.00                ongoing     Required by WY BOM - Psychological Evaluation
Monaco Med Mal/BOM                                                                        Air Travel           750.00                ongoing     Approximate - Billings to Kansas City MO
Monaco Med Mal/BOM                                                                             Hotel           800.00                ongoing     Approximate 4 days at 200/day
                                                                                                                                                 Approximate - Kansas Airport shut down had to drive back to
Monaco Med Mal/BOM                                                                          Vehicle          1,100.00                  ongoing   Billings
Monaco Med Mal/BOM                                                                           Meals             400.00                  ongoing   Approximate - 100 times 4
                                                                                                                                                 Required by WY BOM - Attended Feb 29-March2, 2012
Monaco Med Mal/BOM                                      Vanderbilt University                                2,450.00                  ongoing   Prescribing Controlled Drugs Course
Monaco Med Mal/BOM                                                                        Air Travel           634.00                  ongoing   Billings to Nashville
Monaco Med Mal/BOM                                                                             Hotel           750.00                  ongoing   Approximate 3 days at 250
Monaco Med Mal/BOM                                                                          Vehicle            300.00                  ongoing   Approximate 3 days at 100
Monaco Med Mal/BOM                                                                            Meals            300.00                  ongoing   Approximate 3 days at 100


Monaco Med Mal/BOM                                      WY BOM Case hearing costs, non legal                 1,855.00                  ongoing   Contested case administrative hearing

Monaco Med Mal/BOM             Jurovich Law Firm                                                            18,500.00

Monaco Med Mal/BOM             Greear Law Firm                                                              32,500.00
                               Steve Emery/Williams
Monaco Med Mal                 Porter Day and Neville   Claim and Lawsuit filed,Federal court               15,000.00     150,000.00 ongoing




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Wyoming Board of Medicine                            Complaint defense and appeal                                 350,000.00 ongoing   Projected defense; costs on going investigations and defense


                            Steve Emery/Williams
Harper Med/Mal/BOM          Porter Day and Neville                                                   302,000.00             settled    defense costs and settlement fees




                            Steve Emery/Williams
Clark Med/Mal/BOM           Porter Day and Neville   Williams Porter Day and Neville                 410,965.55             Settled    defense costs and settlement fees


                            Dave Clark/Worrall
Rasmussen/Med Mal           Greear                                                     claim filed    17,000.00   150,000.00 ongoing   Reserve secured for Defense and Expert Fees


                            Steve Emery/Williams
Cox/ Med Mal                Porter Day & Neville                                       Claim filed    25,000.00   150,000.00 ongoing   Reserve secured for Defense and Expert Fees


                            Steve Emery/Williams
Thomas/Med Mal/BOM          Porter Day & Neville     Claim/Lawsuit filed, Sheridan County             30,000.00   150,000.00 ongoing   Reserve secured for Defense and Expert Fees


                            Steve Emery/Williams
Lee/Med Mal/BOM             Porter Day & Neville     Claim/Lawsuit filed, Sheridan County             10,000.00   150,000.00 ongoing   Reserve secured for Defense and Expert Fees


                            Steve Emery/Williams
Platt/Med Mal/BOM           Porter Day & Neville     complaint filed                                  10,000.00   150,000.00 ongoing   Reserve secured for Defense and Expert Fees


                            Steve Emery/Williams
Turner/Med Mal/BOM          Porter Day & Neville     complaint filed                                  10,000.00   150,000.00 ongoing   Reserve secured for Defense and Expert Fees


                            Steve Emery/Williams
McMahill/Med Mal/BOM        Porter Day & Neville     complaint filed                                   2,500.00   150,000.00 ongoing   Reserve secured for Defense and Expert Fees


                            Steve Emery/Williams
Davis/Med Mal/BOM           Porter Day & Neville     complaint filed                                   2,500.00   150,000.00 ongoing   Reserve secured for Defense and Expert Fees


                            Steve Emery/Williams
Ewen/Med Mal/BOM            Porter Day & Neville     complaint filed                                   2,500.00   150,000.00 ongoing   Reserve secured for Defense and Expert Fees




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                           Steve Emery/Williams
Brockus/Med mal/BOM        Porter Day & Neville   complaint filed                       2,500.00       150,000.00 ongoing   Reserve secured for Defense and Expert Fees


                           Steve Emery/Williams
Mickelson/Medmal/BOM       Porter Day & Neville   complaint filed                       2,500.00       150,000.00 ongoing   Reserve secured for Defense and Expert Fees


                           Steve Emery/Williams
Beatty/Medmal              Porter Day & Neville   complaint pending per records                        150,000.00 ongoing   Reserve secured for Defense and Expert Fees


                           Steve Emery/Williams
Rein/Medmal                Porter Day & Neville   complaint pending per records                        150,000.00 ongoing   Reserve secured for Defense and Expert Fees




Totals                                                                            1,632,430.39     3,256,860.00

Note: Reserves include cost of defense, expert fees, trial costs




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